                         IN THE UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION


IN RE: E. I. DU PONT DE NEMOURS AND                 CASE NO. 2:13-MD-2433
COMPANY C-8 PERSONAL INJURY
LITIGATION                                          JUDGE EDMUND A. SARGUS, JR.

This document relates to: ALL ACTIONS               MAGISTRATE JUDGE ELIZABETH P.
                                                    DEAVERS




    DEFENDANT’S COUNTER-MOTION FOR PARTIAL SUMMARY JUDGMENT
    REGARDING APPLICATION OF THE LEACH SETTLEMENT AGREEMENT


       Defendant E. I. du Pont de Nemours and Company (“DuPont”) submits this Counter-

Motion for Partial Summary Judgment in response to Plaintiffs’ “motion for partial summary

judgment under Rule 56 or for determination of issues under Rule 16(c)” [ECF No. 820]. Based

on the reasons and analysis set forth in DuPont’s Opposition to Plaintiffs’ Motion, filed

concurrently with this Counter-Motion, and the plain and unambiguous terms of the Leach

Settlement Agreement, DuPont respectfully requests that this Court enter an Order finding as a

matter of law that there are no material issues of fact as to the application of the Leach

Settlement Agreement to the individual personal injury and wrongful death actions consolidated

in this MDL, and that DuPont’s statements of the issues regarding: (1) the definition of “Class

Member;” (2) the scope of “General Causation;” and (3) proof of dose required to establish

specific causation are accurate.

       In lieu of a separate Memorandum in Support, DuPont incorporates by reference the

arguments and authorities set out in its Opposition to Plaintiffs’ Motion in their entirety.
Respectfully submitted:

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                                 CERTIFICATE OF SERVICE

       A true and correct copy of the foregoing was electronically filed with this Court’s

CM/ECF system on this 29th day of September 2014 and was thus served automatically upon all

counsel of record for this matter.



                                          s/ Damond R. Mace
                                          Damond R. Mace (0017102)




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